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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

JOHN DOE                                         :
                                                 :
           V.                                    :              Case No. 17-cv-40151
                                                 :
JOHNSON & WALES UNIVERSITY                       :

      DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS RESPONSE TO
         PLAINTIFF’S MOTION TO PROCEED UNDER PSEUDONYM


           Defendant Johnson & Wales University (“JWU”) acknowledges that this Court

and others have allowed male students challenging a sexual misconduct sanction to sue

under a pseudonym such as “John Doe.” JWU takes no position on Plaintiff’s motion.

           JWU has moved to transfer this litigation to the United States District Court for

the District of Rhode Island. (ECF Nos. 7-8). JWU submits respectfully that the Court’s

ruling on Plaintiff’s motion to proceed under a pseudonym or any other motion that he

intends to file should be stayed pending the adjudication of the venue issue, which has

been fully briefed.

           Also, JWU disputes the inaccurate and self-serving depictions of alleged events

that Plaintiff has stated unnecessarily in his supporting memorandum. JWU denies that it

has any liability to Plaintiff or acted in the manner portrayed by Plaintiff’s filing. JWU
proceeded in accordance with its Student Handbook and applicable policies.


                                                 Defendant,
                                                 Johnson & Wales University,
                                                 By its Attorneys,

                                                   /s/ Steven M. Richard
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                                                 /s/ Jeffrey S. Brenner
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Dated: December 18, 2017                       Email: jbrenner@nixonpeabody.com




                              CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF), and paper copies will be sent to those indicated as non-registered participants on
this 18th day of December, 2017.

                                                  /s/ Steven M. Richard




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